08-13555-mg        Doc 26784               Filed 03/16/12 Entered 03/16/12 14:15:43                                         Main Document
                                                       Pg 1 of 4




     B 210A (Form 210A) (12/09)



                        UNITED STATES BANKRUPTCY COURT
                                        Southern District Of New York

     In re Lehman        Brothers      Holdings       Inc., et. aI.,                Case No. 08-1 3555(JMP)
                                                                                           (Jointly Administered)


          PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY

     A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under II U.S.c. § 1111(a).
     Transferee hereby gives evidence and notice pursuant to Rule 300 I(e)(2), Fed. R. Bankr. P., of
     the transfer, other than for security, of the claim referenced in this evidence and notice.

     Name of Transferee                                                   Name of Transferor
     Canyon Balanced Master Fund, Ltd.                                    Nomura Securities International,                Inc.

     Name and Address where notices to                                     Court Claim # (if known): 5980 I
     transferee should be sent:                                            Amount of Claim as Allowed: $5,114,827.39
                                                                           Amount of Claim Transferred: $4,649,843.08
     Canyon Balanced Master Fund, Ltd.                                     Date Claim Filed: 10130/09
     c/o Canyon Capital Advisors LLC                                       Debtor against claim filed: Lehman
     2000 A venue of the Stars, II th Fl.                                  Brothers Holdings Inc.
     Los Angeles, CA 90067
     Attention: Raj Venkataraman lyer
                  Jonathan Kaplan, Esq.
     Phone No.: 310-272-1000
     Email: rvenkataraman@canyonpartners.com
               legal@canyonpartners.com



     With a copy to:
     Alex R. Rovira
     Sidley Austin LLP
     787 Seventh A venue
     New York, NY 10019




     I declare under pe alty of perj ury that the information                   provided in this notice is true and correct
     to the best of m   nowledge and belief.

        ----:--I--II-'----...:::====~                                Date:     I J-M.a-v-- ')-0           f')-
                     ransferee's     Agent
                  king afalse statement: Fine of up to $500,000   or imprisonment   for up to 5 years, or both. 18 U.S.c. ~§ 152 & 3571
        Jon   an M. Kaplan, Authorized Signatory of
        Canyon Capital Advisors LLC, its Investment Advisor
08-13555-mg   Doc 26784   Filed 03/16/12 Entered 03/16/12 14:15:43   Main Document
                                      Pg 2 of 4
08-13555-mg   Doc 26784   Filed 03/16/12 Entered 03/16/12 14:15:43   Main Document
                                      Pg 3 of 4
08-13555-mg   Doc 26784   Filed 03/16/12 Entered 03/16/12 14:15:43   Main Document
                                      Pg 4 of 4
